     Case 18-10744-SLM            Doc 42     Filed 05/18/22 Entered 05/18/22 15:10:41                     Desc Main
                                            Document Page 1 of 1
                                            Marie-Ann Greenberg
                                          Chapter 13 Standing Trustee
                                             30 TWO BRIDGES ROAD
                                                   SUITE 330
                                            FAIRFIELD, NJ 07004-1550
Joseph D. Petrolino, Jr.                         Phone 973-227-2840                             For Payments Only:
    Staff Attorney
                                                  Fax 973-227-3272
                                                                                                 PO Box 520
   Brian M. Knapp
                                                                                            Memphis, TN 38101-0520
    Staff Attorney

                     NOTICE OF COMPLETION OF CH. 13 PAYMENTS

Case No.: 18-10744                                                May 18, 2022
RODRIC S BOWMAN
213 E LINCOLN AVE
ROSELLE PARK, NJ 07204


After a review of your file, our records indicate that you have successfully paid-off your Chapter 13 Plan .
Please note that you are to stop making your monthly payments to our office, since the case is now completed .
In addition, please note the following:

           Although you have completed your plan payments, you will not receive a Discharge until:

                       · All of the applicable closing documents and certificates are filed with the Court. Please
                           contact your attorney or the Clerk of the Court with regard to same. Our office
                           cannot provide you with these documents or any legal advice.

                       · A Final Report will be generated after all disbursement checks to creditors have cleared
                           with the bank. This may take 3 to 6 months and we have no control over this time
                           period. Once the Final Report is issued to the United States Bankruptcy Court, the
                           Bankruptcy Court will provide you with a Discharge Order if you have filed all of the
                           applicable documents and certificates as noted above.

                       · Since this office does not issue the Discharge Order, please forward your inquiries with
                           regard to same to either your attorney or to the Clerk of the Court.

                                           Thank you and congratulations!

                                           Office of Marie-Ann Greenberg
                                            Chapter 13 Standing Trustee

 cc: SCOTT D. SHERMAN ESQ
     MINION & SHERMAN
     33 CLINTON ROAD, SUITE 105
     WEST CALDWELL, NJ 07006
                                              NOTE: - WHEN DEBTOR(S) MOVE

      In the event of a change of address for any reason , the debtor must file a Change of Address form with the
      U.S. Bankruptcy Court. The Discharge Order, or any notices from the Court will only be sent to the address
                         they have on file. [U.S. Bankruptcy Court; Newark, NJ; 973-645-4764]
